EXHIBIT B
                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS




 UNITED STATES OF AMERICA                        )
                                                 )
                v.                               )     Criminal No. 19-10080-NMG
                                                 )
 DAVID SIDOO et al.,                             )
                                                 )
                Defendants.                      )




                          DECLARATION OF DOUGLAS HODGE

I, Douglas Hodge, declare under penalty of perjury that the following is true and accurate to the
best of my recollection and belief:

   1. I am a defendant in the above-captioned case, United States v. David Sidoo et al.,
      Criminal Case Number 19-10080-NMG.

   2. I received notice that I had been charged with one count of conspiracy to commit mail
      fraud and honest services mail fraud on March 12, 2019 when I was on vacation in
      Western Canada.

   3. After receiving notice of the criminal charges, I immediately took a flight from Western
      Canada to Boston, Massachusetts, where I retained Miranda Hooker of Pepper Hamilton
      LLP, a former federal prosecutor, to represent me and appear on my behalf during my
      Initial Appearance, which took place on March 13, 2019.

   4. Soon thereafter, I interviewed numerous lawyers and law firms to select the lawyers to
      lead my defense team together with Ms. Hooker. I decided to retain Brien O’Connor and
      Joan McPhee from Ropes & Gray LLP.

   5. I chose Mr. O’Connor and Ms. McPhee based on their specific experience as former
      federal prosecutors. In particular, I selected Ms. McPhee in part because she served as
      the Deputy Chief of the Appeals Unit in the United States Attorney’s Office for the
      Southern District of New York, and I selected Mr. O’Connor in part because he served as
      the Chief of the Public Corruption and Special Prosecutions Unit at the United States
      Attorney’s Office for the District of Massachusetts, where he prosecuted, and oversaw
      the prosecution of, a wide range of fraud and corruption matters in the same office that is
      now prosecuting the above-captioned matter.
